           Case 2:17-cv-01641-KOB Document 1 Filed 09/22/17 Page 1 of 4                     FILED
                                                                                   2017 Sep-22 PM 04:11
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

RANDY E. GLAZE,                            )
                                           )
      Plaintiff,                           )
                                           )
      v.                                   )      CIVIL ACTION NO.:
                                           )     ____________________
                                           )
AMSHER COLLECTION SERVICES,                )
INC., Fictitious Defendants “A”, “B”,      )
and “C”,                                   )
                                           )
      Defendant.                           )

                              NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

Defendant, Amsher Collection Services, Inc. (“ACS”), through undersigned counsel and

pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, et seq., hereby removes this action from

Circuit Court of Jefferson County, State of Alabama to the United States District Court

for the Northern District of Alabama. In support of this Notice of Removal, ACS states

as follows:

      1.      On or about August 17, 2017, Plaintiff, Randy E. Glaze (“Plaintiff”),

commenced a civil action in the Circuit Court of Jefferson County, State of Alabama,

entitled and captioned Randy E. Glaze v. Amsher Collection Services, Inc., Case No. 01-

cv-2017-903444.00 (hereinafter the “State Court Action”).      No further proceedings

before the State Court have occurred.
            Case 2:17-cv-01641-KOB Document 1 Filed 09/22/17 Page 2 of 4



       2.      In the Complaint, Plaintiff alleges statutory causes of action against ACS

under the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692, et seq. and the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. A true and correct copy of

Plaintiff’s Complaint and an entire copy of the State Court file, including copies of all

process, pleadings and orders are attached hereto as Exhibit “A.” Therefore, this Court

has jurisdiction over the State Court Action pursuant to 28 U.S.C. § 1331 because

Plaintiff’s Complaint alleges a cause of action arising under the laws of the United States.

Because Plaintiff affirmatively alleges violations of the FDCPA and TCPA, the

Complaint asserts a federal question under 28 U.S.C. § 1331 and is removable pursuant

to 28 U.S.C. § 1441.

       3.      On August 23, 2017, ACS was served with a copy of the Summons and

Complaint.

       4.      The time within which ACS is required by the laws of the United States, 28

U.S.C. § 1446(b), to file this notice of removal has not yet expired. This Notice of

Removal is timely, having been filed within 30 days of the date on which ACS was

served with Plaintiff’s Complaint. See 28 U.S.C. § 1446.

       5.      The Circuit Court of Jefferson County, State of Alabama, is located within

the United States District Court for the Northern District of Alabama. Therefore, venue

for purposes of removal is proper because the United States District Court for the

Northern District of Alabama embraces the place in which the removed action was

pending. 28 U.S.C. § 1441(a).



                                             2
            Case 2:17-cv-01641-KOB Document 1 Filed 09/22/17 Page 3 of 4



       6.      Written notice of this Notice of Removal of this action is being

immediately provided to the Circuit Court of Jefferson County, State of Alabama. See

Exhibit “B” attached hereto.

       7.      Written notice of this Notice of Removal of this action is being caused to be

served on the Plaintiff.

       WHEREFORE, Defendant, Amsher Collection Services, Inc., gives notice that

this action is removed from the Circuit Court of Jefferson County, State of Alabama, to

the United States District Court for the Northern District of Alabama.

Dated: September 22, 2017.

                                          Respectfully submitted,


                                           /s/ Laura C. Nettles
                                           Laura C. Nettles (ASB-5805-S63l)
                                           Attorney for Defendant
                                           AmSher Collection Services, Inc.



OF COUNSEL:

LLOYD, GRAY, WHITEHEAD & MONROE, P.C.
880 Montclair Road, Suite 100
Birmingham, AL 35213
Telephone: (205) 967-8822
Facsimile: (205) 967-2380
lnettles@lgwmlaw.com




                                             3
          Case 2:17-cv-01641-KOB Document 1 Filed 09/22/17 Page 4 of 4



                             CERTIFICATE OF SERVICE

         I hereby certify that on this 22nd day of September, 2017, a true and correct copy
of the aforementioned document was filed electronically in the ECF system. Notice of
this filing will be sent to the parties of record by operation of the Court’s electronic filing
system. Parties may access this filing through the Court’s system.

John G. Watts, Esq.
M. Stan Herring, Esq.
WATTS & HERRING, LLC
The Kress Building
301 19th Street North
Birmingham, AL 35203
(205) 879-2447
(888) 522-7167, Fax
john@wattsherring.com
stan@wattsherring.com

D. Benjamin Traylor, Esq.
TRAYLOR & DAVIS, LLC
P. O. Box 11764
Birmingham, AL 35202
(205) 452-0307
(877) 360-3562, Fax
btraylor@traylordavis.com


                                           /s/ Laura C. Nettles
                                           Of Counsel




                                              4
